Case 2:15-cv-01350-JLR Document 689 Filed 07/12/19 Page 1 of 4
Case 2:15-cv-01350-JLR Document 687-3 Filed 06/14/19 Page 1 of 4

THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

SEATTLE DIVISION

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
VS.
PATH AMERICA, LLC, et al.,

Defendants and Relief Defendants.

cf
AS TO DEFENDANT PATH

[PROPOSED] FINAL JUDGMENT AS TO DEF, = --—-—-
PATH AMERICA, LLC
CASE No. C-15-1350-JLR

Crvil Action No. C-15-1350-JLR

FINAL JUDGMENT

AMERICA, LLC

SECURITIES AND EXCHANGE COMMISSION
44. MONTGOMERY STREET, SUITE 2800
SAN FRANCISCO, CALIFORNIA 94104
(415) 705-2500

Case 2:15-cv-01350-JLR Document 689 Filed 07/12/19 Page 2 of 4
Case 2:15-cv-01350-JLR Document 687-3 Filed 06/14/19 Page 2 of 4

The Securities and Exchange Commission (“SEC” or “Commission”) having filed a
Complaint, and Defendant Path America, LLC, by and through Michael A, Grassmueck, the Court-
appointed Receiver for Defendant, having entered a general appearance; consented to the Court’s
jurisdiction over Defendant and over the subject matter of this action; consented to entry of this Final
Judgment without admitting or denying the allegations of the Complaint (except as to jurisdiction);
waived findings of fact and conclusions of law; and waived any right to appeal from this Final
Judgment:

I,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Path America,
LLC is permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of
the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b) and Rule 10b-5
thereunder, 17 C.F.R. § 240.10b-5, by using any means or instrumentality of interstate commerce, or
of the mails, or of any facility of any national securities exchange, in connection with the purchase
or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to state a material fact

necessary in order to make the statements made, in the light of the circumstances under

which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would operate

as a fraud or deceit upon any person.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal
Rule of Civil Procedure 65(d)(2}, the foregoing paragraph also binds the following who receive

actual notice of this Final Judgment by personal service or otherwise: (a) Defendant Path America,

| LLC’s officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant, or with anyone described in (a).
II.
(T IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Path America,

LLC is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of

[PROPOSED] FINAL JUDGMENT AS'TO DEF. 1 SECURITIES AND EXCHANGE COMMISSION
PATH AMERICA, LLC 44 MONTGOMERY STREET, SUITE 2800

CASE No, C-15-1350-JLR SAN FRANCISCO, CALIFORNIA 94104
: (415) 705-2500

Case 2:15-cv-01350-JLR Document 689 Filed 07/12/19 Page 3 of 4
Case 2:15-cv-01350-JLR Document 687-3 Filed 06/14/19 Page 3 of 4

1933 (the “Securities Act”), 15 U.S.C. § 77q(a), in the offer or sale of any security by the use of any
means or instruments of transportation or communication in interstate commerce, or by use of the
mails, directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact or

any omission of a material fact necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; or

(c) to engage in any transaction, practice, or course of business which operates or would

operate as a fraud or deceit upon the purchaser.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal
Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
actual notice of this Final Judgment by personal service or otherwise: (a) Defendant Path America,
LLC’s officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant, or with anyone described in (a).

NII.

TT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Path America,
LLC is permanently restrained and enjoined from soliciting, directly or indirectly, any person ot
entity to purchase or sell any security, and from participating, directly or indirectly, in the issuance,
offer, or sale of any security of any entity controlled by, or under joint control with, Defendant.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal
Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
actual notice of this Final Judgment by personal service or otherwise: (a) Defendant Path America,
LLC’s officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant, or with anyone described in (a).

IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent of Defendant

Path America, LLC is incorporated herein with the same force and effect as if fully set forth herein,

and that Defendant shall comply with all of the undertakings and agreements set forth therein.

[PROPOSED] FINAL JUDGMENT AS TO DEF, 2 SECURITIES AND EXCHANGE COMMISSION
PATH AMERICA, LLC 44 MONTGOMERY STREET, SUITE 2800
CASE No. C-15-1350-JLR SAN FRANCISCO, CALIFORNIA 94104

(415) 705-2500

Case 2:15-cv-01350-JLR Document 689 Filed 07/12/19 Page 4 of 4
Case 2:15-cv-01350-JLR Document 687-3 Filed 06/14/19 Page 4 of 4

Vv.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
jurisdiction of this matter for the purposes. of enforcing the terms of this Final Judgment.
VI
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

IT IS SO ORDERED,

Dated: 14 Say Zolm
James L. Roba
UNITED STAPLES DISTRICT JUDGE

[PROPOSED] FINAL JUDGMENT AS To Der. 3 SECURITIES AND EXCHANGE COMMISSION
PATH AMERICA, LLC 44 MONTGOMERY STREET, SUITE 2800
CASE No, C-15-1350-JLR - SAN FRANCISCO, CALIFORNIA 94104

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